            Case 2:16-cr-00336-RAJ       Document 85     Filed 09/01/17    Page 1 of 1




 1                                                         HONORABLE RICHARD JONES
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 6                         UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                  AT SEATTLE
 8
     UNITED STATES OF AMERICA,                       Cause No. CR16-336RAJ
 9
                  Plaintiff,                         ORDER GRANTING MOTION
10
                                                     TO SEAL DEFENDANT’S
           vs.                                       SENTENCING
11
     MANUEL SANCHEZ-GONZALEZ,                        MEMORANDUM EXHIBIT
12
                  Defendant.
13

14         This matter comes before this Court on Defendant Manuel Sanchez-Gonzalez’s

15   Motion to Seal Defendant’s Sentencing Memorandum Exhibit, and good cause appearing,
           NOW THEREFORE, Defendant’s Motion to Seal (Dkt. #83) is GRANTED>
16
     Defendant Sanchez-Gonzalez’s sentencing memorandum exhibit, which was filed under
17
     seal under Dkt. #84, shall remain under seal.
18         DATED this 1st day of September, 2017.
19

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21
                                                     A
                                                     The Honorable Richard A. Jones
22                                                   United States District Judge

23

      ORDER GRANTING MOTION TO SEAL
      DEFENDANT’S SENTENCING
      MEMORANDUM EXHIBIT - 1                                                    Jennifer Kaplan
                                                                                  2125 Western Avenue, Ste 330
                                                                                   Seattle, Washington 98121
                                                                               (206) 443-0670 Fax: (866) 471-6818
